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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             )        21-cr-10104-PBS
                                     )
VLADISLAV KLYUSHIN,                  )
                                     )
                  Defendant.         )
____________________________________)

              GOVERNMENT’S RESPONSE CONCERNING FORFEITURE

       In his Response to Forfeiture and Restitution Requests (Dkt. No. 249), Defendant Vladislav

Klyushin challenges the government’s requested forfeiture amount, $36,600,000, in four respects:

(1) that the evidence does not establish that each individual trade Klyushin profited from was based

on material non-public information (“MNPI”) stolen from the victim filing agents; (2) that the

“government’s calculations include appreciation of investments well after information was made

public”; (3) that Klyushin more often received 50 percent, rather than 60 percent, of the illicit

profits from his trading on behalf of three investors whose money he managed; and (4) that the

forfeiture amount fails to account for commissions that Klyushin incurred while trading.

       The government respectfully responds as follows:

       1.      Klyushin’s Proceeds Were Based on Stolen MNPI

       At trial, the government established that Klyushin’s trading profits invariably came from

the theft of MNPI. Klyushin had no brokerage account before joining the conspiracy. He traded

in in the shares of clients of Toppan Merrill (“TM”) only until TM locked the conspirators out of

its network in January 2020. (Tr. Exh. 203). His trading (and that of his co-conspirators) then

shifted exclusively to the shares of clients serviced by Donnelly Financial (“DFIN”), and he was

successful only until DFIN locked the conspirators out of its network in or about August 2020. Id.
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Based on available data, Klyushin’s trading on the earnings announcements of DFIN-serviced

companies followed the illegal download of data from DFIN one “hundred percent of the time”.

(Tr. Tr. 8-144—145). And once TM and DFIN had both secured their networks, Klyushin all but

abandoned trading on earnings releases and began losing money. (PSR ¶ 42) (“[w]hen Klyushin

and his coconspirators had unauthorized access to MNPI at DFIN and TIM, they traded around

earnings events 78 percent of the time made more than $98 million on those trades. When they no

longer had unauthorized access, they traded around earnings only 7 percent of the time, and lost

more than $200,000—correctly predicting the direction of the market only 41 percent of the time.

(Trial Chalk EEE).”) This is ample evidence that Klyushin’s trading profits came from stolen

MNPI and are the proper object of the requested forfeiture order, particularly given the

preponderance standard that governs the Court’s determination at this stage of the proceedings.

       2.      The Appreciated Value of Illegal Trades is Subject to Forfeiture

       Klyushin’s argues incorrectly that forfeiture is not permitted for “appreciation of

investments well after information was made public.” (Dkt. 249 at 2). In fact, a defendant

convicted of insider trading must forfeit both property “which constitutes proceeds” of the offense,

18 U.S.C. § 981(c), and property which is “derived from proceeds traceable” to the offense. “The

plain text compels [the] conclusion that a defendant convicted of insider trading must forfeit the

appreciation of funds acquired through illegal transactions in an insider-trading scheme, because

such funds are “derived from proceeds traceable to the offense.” United States v. Afriyie, 929 F.3d

63, 73 (2d Cir. 2019). The $36,600,000 in net profits attributable to Klyushin, M-13, and

Klyushin’s share of his three investors’ profits are accordingly subject to forfeiture. 1


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        This forfeiture analysis differs from the Court’s loss calculation, which is governed by
United States v. Chan, 981 F.3d 39, 63 (1st Cir. 2020). Chan’s loss methodology calculates gain
based on the price of illegally traded shares at the end of the first day following an earnings
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       3.      Klyushin’s Share of his Investors’ Profits

       In order to avoid an unnecessary dispute, the government accepts for purposes of forfeiture

Klyushin’s contention that he frequently took only 50 percent of the profits from the trading he

directed on his investors’ behalf.       The net profits for the investors totaled $23,090,939:

$12,454,502 for Borodaev, $8,611,350 for Uryadov, and $2,025,087 for Varshavskiy. Klyushin’s

share of this total, calculated at the 50 percent rate, is $11,545,469.50.

       Klyushin is accordingly and conservatively accountable for $34,065,419.50 in trading

profits. The government requests that the Court enter a forfeiture money judgment in that amount

and a preliminary order of forfeiture for substitute assets (and submits proposed revised orders

herewith). For the reasons stated below, Klyushin is not entitled to any further deduction for what

he describes as his “direct costs”.

       4.      Klyushin is Not Entitled to an Offset for Direct Costs

       While it is true that forfeiture in an insider trading case may account for a defendant’s direct

costs, the burden is on Klyushin—not the government—to establish his direct costs. See 18 U.S.C.

§ 981(a)(2)(B) (“The claimant shall have the burden of proof with respect to the issue of direct

costs.”). Klyushin has put forth no evidence of his direct costs, other than citing approximately

half a million dollars in broker commissions. See United States v. Carpenter, 941 F.3d 1, 10 (1st

Cir. 2019) (district court did not err by not deducting direct costs where defendant did not provide

any evidence to show direct costs).

       But here, Klyushin stands convicted of far more than insider trading.             A defendant

convicted of wire fraud and computer intrusion offenses is not entitled to an offset of direct costs


announcement—i.e., once the market had digested the announced MNPI. Because Klyushin’s
appreciated profits are “derived from proceeds” of his offense, Chan’s formula has no bearing on
the Court’s forfeiture determination.

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from the forfeiture amount. Unlike insider trading, which “involve[es] lawful goods or lawful

services that are sold or provided in an illegal manner,” 18 U.S.C. § 981(a)(2)(B), the offenses of

wire fraud or computer intrusion do not involve lawful goods or services, but inherently unlawful

activities. See United States v. Contorinis, 692 F.3d 136, 145 n.3 (2d Cir. 2012) (“the sale of a

security is not an inherently unlawful activity, like say the sale of foodstamps, or a robbery, and

thus insider trading is not “unlawful activity” as that term is used in § 981(a)(2)(A)”).

Accordingly, for purposes of wire fraud forfeiture, the definition of proceeds is contained in

18 U.S.C. § 981(a)(2)(A), which provides that “the term ‘proceeds’ means property of any kind

obtained directly or indirectly, as the result of the commission of the offense giving rise to

forfeiture, and any property traceable thereto, and is not limited to the net gain or profit realized

from the offense.” (emphasis added). And although forfeiture for computer intrusion is governed

by 18 U.S.C. § 982(a)(2) and 18 U.S.C. § 1030(i)(2), neither of which defines “proceeds,” it too

is an inherently unlawful activity. Klyushin is thus not entitled to an offset for his direct costs

from his forfeiture money judgment for computer intrusion or wire fraud. After all, “[f]orfeiture

orders go beyond disgorgement of profits. They ‘help to ensure that crime does not pay: [t]hey at

once punish wrongdoing, deter future illegality, and ‘lessen the economic power’ of criminal

enterprises.’” Carpenter, 941 F.3d at 10 (quoting Kaley v. United States, 571 U.S. 320, 323

(2014)).2




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         Even if the Court allowed Klyushin $560,789.88 in direct costs from commissions, which
it should not for the reasons stated above, it should still order forfeiture totaling $30,465,309.60.

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       The Court should accordingly allow the government’s motion for forfeiture in the revised

amount of $34,065,419.50.

                                                      Respectfully submitted,

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                                                      Acting United States Attorney

                                                  By: /s/ Seth B. Kosto
                                                     STEPHEN E. FRANK
                                                     SETH B. KOSTO
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Date: September 5, 2023



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of this document will be sent electronically to the registered

participants as identified on the Notice of Electronic Filing.

                                                      /s/ Seth B. Kosto
                                                      SETH B. KOSTO
                                                      Assistant U.S. Attorney


Date: September 5, 2023




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